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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 HONG KONG LEYUZHEN
 TECHNOLOGY CO. LIMITED,                         Case No. 1:24-cv-01689-ARW-JC

               Plaintiff,

 v.

 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,                    Honorable Judge Andrea R. Wood
 PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS                     Magistrate Jeffrey Cole
 IDENTIFIED IN SCHEDULE “A”
 HERETO,

               Defendants.

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL ONLY AS TO
 DEFENDANT NUMBERS 1, 3, 16, 27, 31, 35, 36, 43, 48, 49, 57, 79, 90, 93, 97, 110, 129,
           149, 156, 163, 172, 176, 179 and 186 WITH PREJUDICE

TO THE COURT AND ALL INTERESTED PARTIES:

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Hong

Kong Leyuzhen Technology Co. Limited, voluntarily dismisses only Defendants; number 1

AAASIZE, number 3 AETOSK, number 16 behappy, number 27 cocomy, number 31 Daiyiou

Clothing, number 35 Dqi, number 36 Elegant and stylish plus size, number 43 Fioreiia, number

48 HUAJINF, number 49 Huangsibian, number 57 LEISURE TRENDS, number 79 TWFU,

number 90 YiKeEr, number 93 YMPL, number 97 YUJIAFUSHI 110 Guangzhou Time Lane

Clothing, number 129 RALNBOW, number 149 Elegantlady, number 156 JEVONS, number

163 MMZfashion number 172 RSDZSW, number 176 Tralook, number 179 Woderow and

number 186 YuJunXiFuShi as listed on Schedule “A” to the Complaint with prejudice.



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AS TO CERTAIN DEFENDANTS
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DATED: September 15, 2024            Respectfully submitted,
                                     By: /s/ Shawn A. Mangano
                                     Shawn A. Mangano (Bar No. 6299408)
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                               CERTIFICATE OF SERVICE


       I hereby certify that on the 15th day of September 2024, I electronically filed the

foregoing document with the clerk of the court for the U.S. District Court, Northern District

of Illinois, Eastern Division, using the electronic case filing system. The electronic case

filing system sent a “Notice of Electronic Filing” to the attorneys of record who have

consented in writing to accept this Notice as service of this document by electronic means.

Notice of this filing is provided to unrepresented parties for whom contact information has

been provided via email and by posting the filing on a URL contained on our website

http://blointernetenforcement.com, and distributed to ecommerce platform, Temu.


                                                    By: /s/ Shawn A. Mangano
                                                    Shawn A. Mangano (Bar No. 6299408)
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NOTICE OF VOLUNTARY DISMISSAL ONLY                       CASE NO. 1:24-cv-01689-ARW-JC
AS TO CERTAIN DEFENDANTS
